   Case 2:24-cv-02535-DDC-BGS          Document 2   Filed 11/19/24   Page 1 of 17




                          UNITED STATES DISTRICT COURT
                             FOR DISTRICT OF KANSAS

CBW BANK, a Kansas State Chartered Bank,
       Plaintiff,
                                               Case No. 2:24-cv-02535
              v.

The FEDERAL DEPOSIT INSURANCE
CORPORATION; JENNIFER WHANG, in
her official capacity as an ALJ of OFIA; and
C. SCOTT MARAVILLA, in his official
capacity as an ALJ of OFIA,
       Defendants.

            PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
    Case 2:24-cv-02535-DDC-BGS               Document 2        Filed 11/19/24       Page 2 of 17




       Plaintiff CBW (“CBW” or the “Bank”) respectfully moves for an order preliminarily

enjoining imminent administrative proceedings against CBW, to be entered against the FDIC and

the Administrative Law Judge defendants (collectively, “Defendants”). Fed. R. Civ. P. 65(a). The

administrative proceeding unconstitutionally deprives CBW of its Seventh Amendment jury

rights. CBW needs this Court’s intervention now to prevent the irreparable injury of forcing CBW

to participate in an unconstitutional administrative process that seeks to impose civil monetary

penalties (CMP) in an amount that could imperil the Bank’s financial viability. Without the

requested relief, CBW will suffer irreparable harm as described below.

                                         INTRODUCTION

       CBW filed this action to avoid serious and irreparable injuries that it will otherwise suffer

from being subjected to an unconstitutional administrative proceeding that will deprive it of its

Seventh Amendment jury rights. Defendants are prosecuting and about to preside over such a

proceeding seeking significant civil monetary penalties. Because that proceeding violates CBW’s

rights under the United States Constitution, CBW respectfully requests an order enjoining the

FDIC from undertaking these proceedings unless and until the constitutional defects are remedied.

       “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on

the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). CBW satisfies each of these requirements.

       First, CBW is likely to succeed in establishing that the FDIC proceedings violate the

Constitution. The FDIC seeks to adjudicate legal claims in in-house administrative proceedings

in violation of the Seventh Amendment. The FDIC’s pursuit of a CMP requires a jury in an Article

III court. This right attaches before any adjudicatory proceeding and irrespective of the ultimate
    Case 2:24-cv-02535-DDC-BGS                Document 2          Filed 11/19/24   Page 3 of 17




outcome of the administrative proceeding. The Seventh Amendment right is centered on the

“maintenance of the jury as a fact-finding body,” Dimick v. Schiedt, 293 U.S. 474, 486 (1935), and

CBW will be deprived of its Seventh Amendment rights if an ALJ instead sits as a fact-finder here.

        “The Seventh Amendment extends to a particular statutory claim if the claim is ‘legal in

nature.’” SEC v. Jarkesy, 144 S. Ct. 2117, 2128 (2024) (quoting Granfinanciera, S.A. v. Nordberg,

492 U.S. 33, 53 (1989)). As to that issue, the remedy the FDIC is seeking—civil monetary

penalties—is dispositive here. Id. at 2129. “[C]ivil penalties are a type of remedy at common law

that could only be enforced in courts of law,” and actions to collect CMPs were brought at common

law as actions in debt requiring a jury. Id. (quoting Tull v. United States, 481 U.S. 412, 422 (1987))

(cleaned up). Thus, the CMPs sought here are legal in nature and CBW has a right to have an

Article III jury sit as the fact-finder to determine liability.

        Nor does the statutory nature of the CMPs allow them to be tried in an agency proceeding

by the FDIC. “Congress cannot eliminate a party’s Seventh Amendment right to a jury trial merely

by relabeling the cause of action to which it attaches and placing exclusive jurisdiction in an

administrative agency” like the FDIC. Granfinanciera, 492 U.S. at 61. The CMPs sought by the

FDIC do not fall within the so-called “public rights” exception allowing the claims to be withdrawn

from the cognizance of an Article III jury. See Jarkesy, 144 S. Ct. at 2131-34.

        Second, CBW will be irreparably harmed by these violations of its constitutional rights

unless the Court halts the FDIC proceedings. CBW is “entitled under the Seventh Amendment to

a jury trial” so “the irreparable injury requirement is automatically satisfied without the need to

consider Plaintiff’s particular showings.” Burgess v. FDIC, 639 F. Supp. 3d 732, 749 (N.D. Tex.

2022). CBW is entitled to a constitutional decisionmaker in the first instance. Even if the Court

remedies this constitutional defect in its final judgment, it cannot undo the injury CBW will suffer



                                                    2
    Case 2:24-cv-02535-DDC-BGS             Document 2       Filed 11/19/24      Page 4 of 17




in the meantime through an unconstitutional proceeding that results in the deprivation of CBW’s

Seventh Amendment right to have a jury sit as a fact-finder. See Free the Nipple-Fort Collins v.

City of Fort Collins, 916 F.3d 792, 806 (10th Cir. 2019). CBW will also suffer irreparable injuries

to its reputational and business interests as the CMP amount the FDIC seeks through the

administrative proceeding—as well as the findings made by an unconstitutional fact-finder—will

potentially undermine confidence in the Bank.

       And finally, for similar reasons, the balance of equities and public interest weigh strongly

in CBW’s favor.

       Under binding Supreme Court precedent, such harm is “a here-and-now injury” that “is

impossible to remedy once the proceeding is over,” Axon Enter., Inc. v. FTC, 598 U.S. 175, 191

(2023), and this Court has jurisdiction to litigate these collateral constitutional challenges now

before those proceedings occur.

       Because CBW satisfies the preliminary injunction factors for its four claims, this Court

should grant CBW’s motion and preliminarily enjoin the FDIC proceedings against it.

                                        BACKGROUND

       CBW is a bank formerly known as Citizens Bank of Weir that was acquired by Suchitra

Padmanabhan and her husband, Suresh Ramamurthi, during the 2008 global financial crisis. It is

a single-branch, Kansas state-chartered bank headquartered in Weir, Kansas.

       The FDIC has moved to assess a CMP against CBW for years-old conduct that occurred in

the Bank’s since-abandoned correspondent banking and money services businesses for violations

of the Bank Secrecy Act and CBW’s anti-money laundering (“AML”) compliance obligations.

However, the FDIC conducted regular examinations of the Bank’s AML compliance program and,

during this routine oversight, there was no evidence to suggest the Bank or any Bank employee



                                                3
    Case 2:24-cv-02535-DDC-BGS                Document 2        Filed 11/19/24       Page 5 of 17




engaged in any deliberate misconduct, or recklessly or willfully disregarded any AML duty

associated with the Bank’s compliance program. The Bank has always operated in good faith,

taking swift action to address the FDIC’s concerns.

        Despite this, the FDIC continues to pursue a penalty assessment against the Bank in

connection with a supervisory visit in 2019. The penalty sought by the FDIC, is unreasonable and

unprecedented for a bank of this size, complexity, and supervisory history. There is no justifiable

basis for any CMP, let alone one of the threatened magnitude given the conduct at issue in this

case.

        On November 18, 2022, CBW received a 15-day notice regarding the FDIC’s consideration

of potential civil monetary penalties. The parties engaged in good faith settlement negotiations

after CBW responded to the notice. CBW’s counsel was informed on November 18, 2024,

however, that the FDIC plans on November 19, 2024 to issue a notice assessing civil monetary

penalties under Section 8(i)(2)(H) of the Bank Secrecy Act. At that time, CBW’s counsel was

informed by the FDIC that unless CBW agreed to the settlement the FDIC proposed the FDIC

would initiate litigation. CBW did not accept the proposed settlement, and on November 19, 2024,

the FDIC served CBW with a notice of hearing.

        Unless enjoined while this Court adjudicates whether the FDIC can seek the CMP without

proceeding before an Article III jury, a hearing will commence before one of the two OFIA ALJs

named as Defendants in this matter.1




1
  Additionally, the FDIC is in possession of CBW’s privileged documents and information and has (1)
disclaimed the existence of any attorney-client privilege in proceedings involving the FDIC, and (2)
refused to return or segregate all documents protected by attorney-client privilege. CBW intends to move
for a protective order in the appropriate forum to prevent the FDIC from using the privileged information
already learned in their investigations and enforcement proceedings and to disqualify and screen the
lawyers who have reviewed the privileged information from further participation in the matter.
                                                    4
     Case 2:24-cv-02535-DDC-BGS              Document 2        Filed 11/19/24       Page 6 of 17




                                            ARGUMENT

        Preliminary injunctive relief is proper when a movant establishes that (1) it is likely to

succeed on the merits, (2) it is likely to suffer irreparable harm in the absence of preliminary relief,

(3) the balance of equities tips in its favor, and (4) an injunction is in the public interest. Winter,

555 U.S. at 20; Hobby Lobby Stores, Inc. v. Sebelius, 723 F.3d 1114, 1128 (10th Cir. 2013).

I.      CBW is likely to succeed on the merits of its Seventh Amendment claim

        The Seventh Amendment preserves the right to trial by jury “[i]n Suits at common law.”

U.S. Const. amend. VII. The FDIC’s effort to adjudicate private rights and afford legal relief,

without the safeguards of juries and impartial Article III judges, exceeds constitutional bounds.

Jarkesy, 144 S. Ct. at 2139. “The right to trial by jury is ‘of such importance and occupies so firm

a place in our history and jurisprudence that any seeming curtailment of the right’ has always been

and ‘should be scrutinized with the utmost care.’” Id. at 2128 (citation omitted).

        To assess this claim, the Court must determine whether (1) the underlying controversy

“implicates the Seventh Amendment,” and (2) “whether the ‘public rights’ exception to Article III

jurisdiction applies.” Id. at 2127. “The Seventh Amendment extends to a particular statutory

claim if the claim is ‘legal in nature.’” Id. at 2128 (Granfinanciera, 492 U.S. at 53; Tull, 481 U.S.

at 417). Whether a claim is “legal in nature” depends on the nature of the cause of action and the

nature of the remedy, but the nature of the remedy is “more important.” Id. at 2129 (“the remedy

was the ‘more important’ consideration” (quoting Tull, 481 U.S. at 421)). The FDIC proceeding

against CBW involves claims that are legal in nature under Jarkesy.

        Here, “the remedy is all but dispositive.” Jarkesy, 144 S. Ct. at 2129. “What determines

whether a monetary remedy is legal is if it is designed to punish or deter the wrongdoer.” Id. In

this case, the FDIC’s threatened sanction, which is based entirely on its unfounded allegations that



                                                   5
    Case 2:24-cv-02535-DDC-BGS              Document 2        Filed 11/19/24      Page 7 of 17




CBW’s AML program was not reasonably designed, “cannot fairly be said solely to serve a

remedial purpose, but rather can only be explained as also serving either retributive or deterrent

purposes.” Id. (quoting Austin v. United States, 509 U.S. 602, 610 (1993)). It is therefore

punishment. Id. “[O]nly courts of law issued monetary penalties” and “civil penalties are a type

of remedy at common law that could only be enforced in courts of law.” Id. (quoting Tull, 481

U.S. at 422) (cleaned up).

       There is no basis for the FDIC to claim the CMPs it can impose under 12 U.S.C.

§ 1818(i)(2)(A)-(C) are equitable as opposed to legal. Like the SEC penalty scheme in Jarkesy,

here, Section 8(i) “establish[es] three ‘tiers’ of civil penalties” and “[e]ach tier conditions the

available penalty on the culpability of the defendant and the need for deterrence, not the size of

the harm that must be remedied.” Id. No “showing that a victim suffered harm” is “required to

advance a defendant from one tier to the next,” so nothing in the “analysis turns on restoring the

status quo.” Id. at 2130 (quoting Tull, 481 U.S. at 422). Nor is there any provision in Section 8(i)

for the return of any funds collected to putative victims; the FDIC’s imminent penalty assessment

is purely designed to punish the Bank for alleged statutory violations and has no restitutionary

component. See id.; 12 U.S.C. § 1818(i). Thus, Jarkesy controls the outcome. The remedies at

issue here are necessarily legal in nature, which is essentially dispositive of the Seventh

Amendment jury right attaching under Jarkesy. See also Tull, 481 U.S. at 424 (where CMPs have

no restitutionary purpose a jury is required).

       This conclusion is reinforced by the fact that “[a]ctions by the Government to recover civil

penalties under statutory provisions . . . historically ha[ve] been viewed as a type of action in debt

requiring trial by jury.” Jarkesy, 144 S. Ct. at 2129 (quoting Tull, 481 U.S. at 418-19). As Tull

explained, “[p]rior to the enactment of the Seventh Amendment, English courts had held that a



                                                  6
    Case 2:24-cv-02535-DDC-BGS               Document 2        Filed 11/19/24       Page 8 of 17




civil penalty suit was a particular species of an action in debt that was within the jurisdiction of

the courts of law.” 481 U.S. at 418 (citing Atcheson v. Everitt, 1 Cowper 382, 98 Eng.Rep. 1142

(K.B. 1776); Calcraft v. Gibbs, 5 T.R. 19, 101 Eng.Rep. 11 (K.B. 1792)). After passage of the

Seventh Amendment, “federal courts followed this English common law in treating the civil

penalty suit as a particular type of an action in debt, requiring a jury trial.” Id. The Supreme Court

in Jarkesy adopted Tull’s statement that “the statutory nature of the claim was not legally relevant,”

and reiterated that actions for civil monetary penalties were considered actions in debt to which

the Seventh Amendment jury right attached. Jarkesy, 144 S. Ct. at 2129.

       Under this framework, a Texas district court has already concluded that an FDIC

proceeding for CMPs is a legal claim that requires a jury trial in an Article III court. See Burgess,

639 F. Supp. 3d at 748. This Court should conclude likewise.

       The “public rights exception” provides no support for the FDIC’s ability to evade the

Seventh Amendment jury trial guarantee. This exception allows certain claims to be withdrawn

from the cognizance of an Article III jury where they “historically could have been determined

exclusively by the executive and legislative branches.” Jarkesy, 144 S. Ct. at 2132 (quoting Stern

v. Marshall, 564 U.S. 462, 484 (2011)). The FDIC, however, bears the burden of showing the

public rights exception applies. It cannot carry this heavy burden. See id. (“If a suit is in the nature

of an action at common law, then the matter presumptively concerns private rights, and

adjudication by an Article III court is mandatory.”).

       After all the “public rights” exception is “an exception.” Id. at 2134 (emphasis in original).

“It has no textual basis in the Constitution and must therefore derive instead from background legal

principles.” Id. When this exception applies, it often flows from “from centuries-old rules.” Id.

at 2133-34 (discussing sovereign collection of debts, Indian tribes, immigration penalties, tariffs,



                                                   7
    Case 2:24-cv-02535-DDC-BGS                  Document 2         Filed 11/19/24        Page 9 of 17




and administration of certain public benefits); id. at 2147 (Gorsuch, J., concurring) (“Whatever

their roots, traditionally recognized public rights have at least one feature in common: a serious

and unbroken historical pedigree.”). And “[e]ven with respect to matters that arguably fall within

the scope of the ‘public rights’ doctrine, the presumption is in favor of Article III courts.” Id. at

2134 (cleaned up).2

        Here, there is no long-rooted historic pedigree of these types of claims being determined

exclusively by the executive or legislative branches, so the public rights exception cannot apply.

Moreover, it cannot be said that the public rights exception applies given that the statutory scheme

expressly contemplates that the regulatory provisions have both public and private benefits. As

the Supreme Court emphasized in Jarkesy, “matters concerning private rights may not be removed

from Article III courts.” Id. at 2132. Congress made very clear in imposing AML obligations for

regulated financial institutions that, while there was some public interest, “[f]inancial institutions

are spending private compliance funds for a public and private benefit.”                      31 U.S.C. §

5318(h)(2)(B)(i) (emphasis added).

        Further, the statute requires these AML programs, which are funded by private monies, to

be “reasonably designed” and “risk based” “directed toward higher-risk customers and activities”

and “consistent with the risk profile of a financial institution.” Id. § 5318(h)(2)(B)(iv)(I)-(II).3


2
  Notably the Supreme Court did not list Atlas Roofing Co., Inc. v. OSHRC, 430 U.S. 442, 453 (1977),
among the litany of public rights cases firmly rooted in historical precedent, Jarkesy, 144 S. Ct. at 2131-
34, and indicated it had likely been overruled by Tull and Granfinanciera. See id. at 2137 nn. 3 & 4. And
if it had not been previously overruled, Justice Sotomayor in her dissent forcefully argued that Atlas Roofing
was irreconcilable with the majority opinion. See id. at 2165 (Sotomayor, J., dissenting). Given the
presumption is in favor of the Article III jury right, this exclusion warrants extreme caution regarding any
further expansion of the public rights exception.
3
  Requiring in full: that the program be “(I) reasonably designed to assure and monitor compliance with the
requirements of this subchapter and regulations promulgated under this subchapter; and (II) risk-based,
including ensuring that more attention and resources of financial institutions should be directed toward
higher-risk customers and activities, consistent with the risk profile of a financial institution, rather than
toward lower-risk customers and activities.”
                                                      8
   Case 2:24-cv-02535-DDC-BGS             Document 2       Filed 11/19/24      Page 10 of 17




These are statutory obligations more akin to traditional common law standards of reasonableness

found in negligence actions. See, e.g., Joseph W. Glannon, The Law of Torts: Examples and

Explanations 70 (3d ed. 2005); Prosser & Keeton on the Law of Torts § 32 at 174 (W. Page Keeton

ed., 5th ed. 1984) (the reasonable person is one who acts with “ordinary prudence, . . . reasonable

prudence, or some other blend of reason and caution”); Restatement (Second) of Torts § 283

(1965) (to avoid negligence liability one must act as a “reasonable man under like circumstances”);

Blyth v. Birmingham Waterworks Co., 156 Eng. Rep. 1047, 1049; 11 Ex. 781 (1856) (Alderson,

B.) (“Negligence is the omission to do something which a reasonable man, guided upon those

considerations which ordinarily regulate the conduct of human affairs, would do, or doing

something which a prudent and reasonable man would not do.”).            Moreover, although the

administrative complaint takes pains to avoid stating exactly which provision of 1818(i)(2) it is

using to calculate the CMP, here the administrative complaint expressly alleges that “[CBW]

recklessly engaged in unsafe or unsound practices” which mirrors the language of 1818(i)(2)(B).

Necessarily then, based on this language and the amount of the CMP in the notice, FDIC alleges

that CBW either acted recklessly and/or breached fiduciary duties, which both sound in common

law tort. See Geoffrey Christopher Rapp, The Wreckage of Recklessness, 86 Wash. U.L. Rev. 111

(2008) (“‘Recklessness’ is one of the oldest concepts in Anglo-American tort law”); David J.

Seipp, Trust and Fiduciary Duty in the Early Common Law, 91 B.U. L. Rev. 1011, 1013-16 (2011).

       This statutory scheme is fundamentally different from the OSHA statutory scheme in Atlas

Roofing, which carried no “common law soil” and instead was comprised of, among other things,

technical instructions directing the construction of “ground trench walls,” specifying building

materials, and identifying the precise angle and slope of construction for the various walls.

Jarkesy, 144 S. Ct. at 2137 (describing the unique facets of the OSHA scheme at issue in Atlas



                                                9
      Case 2:24-cv-02535-DDC-BGS           Document 2        Filed 11/19/24      Page 11 of 17




Roofing). As the Supreme Court stated in Jarkesy, the OSHA provisions at issue in Atlas Roofing

did not “reiterate common law terms of art, they instead resembled a detailed building code.” Id.

Whereas here, the alleged violations underlying the FDIC’s action for CMPs draw on “common

law terms of art” and the statutory scheme acknowledges that it involves the expenditure of private

property—the financial institution’s funds—to set up a “reasonable” anti-money laundering

scheme to protect both private and public interests. Punishments are then imposed based on

allegations of “reckless” conduct or breach of fiduciary duties, both also long-standing common

law concepts. Accordingly, the claims fall outside the limited public rights exception and squarely

within the category of claims to which the Seventh Amendment jury guarantee applies.

II.     CBW will face irreparable harm absent a preliminary injunction.

        Unless this Court enjoins the FDIC from pursuing CMPs against CBW through an

administrative proceeding without a jury, CBW will suffer multiple forms of irreparable harm: (1)

CBW will be deprived of its Seventh Amendment right to have a jury as a fact-finder; (2) it will

have been subjected to an unconstitutional administrative proceeding and the simple fact of being

made to participate in that proceeding in violation of its constitutional rights causes harm; and (3)

CBW will suffer economic and reputational harms that result from the unconstitutional proceeding.

CBW seeks to prevent the FDIC from proceeding with adjudicating liability for CMPs unless and

until the FDIC can provide an Article III forum with a jury as CBW is guaranteed by the Seventh

Amendment.

        As a matter of law, the deprivation of a constitutional right “unquestionably constitutes

irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976); Free the Nipple, 916 F.3d at 806

(“Any deprivation of any constitutional right fits that bill.”). A Seventh Amendment jury-trial

right attaches before the start of a proceeding. See U.S. Const. amend. VII; cf. Fed. R. Civ. P. 38,



                                                 10
   Case 2:24-cv-02535-DDC-BGS              Document 2        Filed 11/19/24      Page 12 of 17




39 (procedures for preserving Seventh Amendment jury right before trial). Thus, the question is

who should sit as factfinder, regardless of the outcome, other decisions made in the case, or

whether and in what amount CMPs are awarded, as the right is centered on the “jury [acting] as a

fact-finding body.” Dimick, 293 U.S. at 486. Parties are entitled “to have a jury properly determine

the question of liability and the extent of the injury by an assessment of damages. Both are

questions of fact.” Id.

       Here, CBW has a right to have a jury in an Article III court and not an ALJ act as the fact-

finder in determining whether it is liable for CMPs. As a result, this is not a mere separation of

powers challenge, but one that implicates an individual right to a jury guaranteed by the Seventh

Amendment. See Leachco, Inc. v. Consumer Prod. Safety Comm’n, 103 F.4th 748, 755 (10th Cir.

2024) (although a separation of powers challenge alone does not create a per se irreparable injury,

where individual rights are implicated irreparable harm occurs). Because CBW is “entitled under

the Seventh Amendment to a jury trial, the irreparable injury requirement is automatically satisfied

without the need to consider Plaintiff’s particular showings.” Burgess, 639 F. Supp. 3d at 749.

       The deprivation of CBW’s right to a jury in the FDIC proceedings is itself a concrete injury

inflicting a specific and irreparable harm that cannot later be remedied by vacating the ALJ’s order

and requiring a re-do of the proceeding in a manner that complies with the constitution; CBW is

entitled to a constitutionally compliant decisionmaker in the first instance. See Ward v. Village of

Monroeville, 409 U.S. 57, 61-62 (1972) (a flawed adjudicative process cannot “be deemed

constitutionally acceptable simply because the State eventually offers a defendant an impartial

adjudication. Petitioner is entitled to a neutral and detached judge in the first instance”). The harm

results from participation in the unconstitutional hearing itself and not from any particular decision

made by the unconstitutional decisionmaker.



                                                 11
   Case 2:24-cv-02535-DDC-BGS              Document 2        Filed 11/19/24      Page 13 of 17




       Finally, undergoing an unconstitutional agency proceeding will result in reputational, legal,

and economic harms to CBW. “What makes an injury ‘irreparable’ is the inadequacy of, and the

difficulty of calculating, a monetary remedy after a full trial.” Free the Nipple, 916 F.3d at 806.

Here, the FDIC is seeking a significant CMP. The Bank will similarly never recover the costs of

defending itself or the reputational harm it would suffer should an unconstitutional fact-finder find

against it and award CMPs in the amount the FDIC seeks. Given the sensitivity of banks to

reputational harm, even if any CMP were eventually vacated and CBW were to receive a jury trial

in an Article III court, it would likely be too late to undo the significant harm inflicted by the

unconstitutional ALJ proceeding. In turn, the reputational harm could undermine the Bank’s

viability. See generally Julie Andersen Hill, Regulating Bank Reputation Risk, Ga. L. Rev., Vol.

54 (2020) (explaining that “banks can suffer losses from reputational damage,” including injury

resulting from damage to the reputation by regulatory action); cf. Axon, 598 U.S. at 216 (Gorsuch,

J., concurring) (“Aware, too, that few can outlast or outspend the federal government, agencies

sometimes use this as leverage to extract settlement terms they could not lawfully obtain any other

way.”). Moreover, the costs from undergoing the unconstitutional proceeding in the first place—

including legal fees and time by Bank personnel preparing for and participating in the

unconstitutional fees—are likely unrecoverable. These are not ordinary litigation costs; they are

instead costs that would not arise but for participating in and undergoing an agency adjudication

that is in and of itself unconstitutional. See Cochran v. SEC, 20 F.4th 194, 209 (5th Cir. 2021) (en

banc), aff’d sub nom. Axon, 598 U.S. 175 (disagreeing with the government that plaintiff

complained only about “mere litigation expense[s]” where the plaintiff “challenges the entire

legitimacy of [the] proceedings, not simply the cost and annoyance”).




                                                 12
       Case 2:24-cv-02535-DDC-BGS           Document 2        Filed 11/19/24      Page 14 of 17




         For all these reasons, the Bank would suffer irreparable harm if deprived of its Seventh

Amendment rights and subjected to an unconstitutional agency proceeding.

III.     The balance of harms and public interest favor a preliminary injunction.

         CBW satisfies the two remaining preliminary injunction factors as well. Where, as here,

the government is a defendant, the balance of harms and the public interest factors merge. Nken

v. Holder, 556 U.S. 418, 435 (2009). Both factors tilt strongly in favor of the Bank. Given its

likelihood of success on the merits, an injunction would not harm Defendants because the

government suffers no cognizable harm from stopping “the perpetuation of unlawful agency

action.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016); see also,

e.g., Awad v. Ziriax, 670 F.3d 1111, 1131 (10th Cir. 2012). Moreover, “it is always in the public

interest to prevent the violation of a party’s constitutional rights.” Does 1-11 v. Bd. of Regents of

Univ. of Colorado, 100 F.4th 1251, 1274 (10th Cir. 2024).

                                             ******
         CBW has carried its burden on all four factors to show a clear and indisputable right to a

preliminary injunction to preserve the status quo until final judgment on the merits can be rendered.

IV.      There is jurisdiction to consider CBW’s claims at this juncture.

         There is jurisdiction for this Court to consider this claim because the Seventh Amendment

claim is wholly collateral to the administrative proceedings.

         Thunder Basin holds there is jurisdiction if: (1) failing to consider the claim would

foreclose “meaningful judicial review”; (2) the claim is “wholly collateral to the statute’s review

provisions”; and (3) the claim is “outside the agency’s expertise.” Thunder Basin Coal Co. v.

Reich, 510 U.S. 200, 212-13 (1994). All three factors are met on the Seventh Amendment claim.

         First, in this type of challenge, the question is who should sit as factfinder, regardless of

the outcome, other decisions made in the case, or whether damages are in fact awarded. See

                                                  13
   Case 2:24-cv-02535-DDC-BGS                 Document 2     Filed 11/19/24       Page 15 of 17




Dimick, 293 U.S. at 486 (the right is centered on the “jury [acting] as a fact-finding body”); see

also Axon, 598 U.S. at 191-92. This is the same scenario as Axon: at least part of the right would

be “effectively lost” if review was deferred until after trial. 598 U.S. at 191; see also Burgess, 639

F. Supp. 3d at 744-45, 749.

       Second, CBW is challenging the power of the Board “to proceed at all” when it offers no

jury trial right or Article III decisionmaker. Axon, 598 U.S. at 192. CBW is not challenging a

specific damages award. Nor does CBW’s Seventh Amendment claim “address the sorts of

procedural or evidentiary matters an agency often resolves on its way to a merits decision.” Id. at

193. So, as in Axon, the collateralism factor favors review. See id. at 192-93.

       Third, much as in Axon, the Board here knows “nothing special about the [Seventh

Amendment].” Id. at 194. The constitutional claim is not “intertwined with or embedded in

matters on which the Commissions are expert.” Id. at 195. Who sits as the factfinder in this case

is an issue of “here-and-now harm” that “would remain no matter how much expertise could be

‘brought to bear’ on the other issues.” Id.

       For these reasons, other federal courts have agreed that there is jurisdiction to review a

Seventh Amendment claim brought as a challenge to an agency proceeding. See, e.g., Burgess,

639 F. Supp. 3d at 743-46. The three factors all favor review.

       Despite this, the FDIC will likely argue this Court is jurisdictionally barred from reviewing

CBW’s claims by the anti-injunction provision in 12 U.S.C. § 1818(i)(a). Section 1818(i)(a)

provides that: “no court shall have jurisdiction to affect by injunction or otherwise the issuance or

enforcement of any notice or order under any such section, or to review, modify, suspend,

terminate, or set aside any such notice or order.” A Texas federal court already considered and

rejected the arguments that this provision either expressly or implicitly precluded consideration of



                                                  14
   Case 2:24-cv-02535-DDC-BGS              Document 2        Filed 11/19/24      Page 16 of 17




similar constitutional claims, including a claim for a jury proceeding consistent with the Seventh

Amendment. See Burgess, 639 F. Supp. 3d at 742-46. This Court should do likewise.

       First, by the provision’s plain language, it does not apply to the claims here. CBW has

asked this Court to enjoin proceedings before an ALJ, it has not asked for this Court to enjoin the

FDIC from “issu[ing] or enforc[ing]” “any notice or order.” 12 U.S.C. § 1818(i)(a). To the extent

the FDIC has the authority to enforce a CMP order or seek other remedies in a constitutionally

compliant proceeding, it remains free to do so. Nor has CBW asked this Court to “review, modify,

suspend, terminate, or set aside any such notice or order.” Id.

       Second, the Burgess court explained that Section 1818(i)(a) does not expressly preclude

review of a collateral constitutional challenge. “Where Congress intends to preclude judicial

review of constitutional claims, its intent to do so must be clear.” Webster v. Doe, 486 U.S. 592,

603 (1988). The text of a provision must expressly withdraw judicial review of a type of claim,

which Section 1818(i)(a) does not do. It neither directly references other jurisdictional statutes

like 28 U.S. § 1331 grant of federal question jurisdiction, nor does it state that it is stripping the

federal courts of review of constitutional challenges. See Burgess, 639 F. Supp. 3d at 742

(comparing Section 1818(i)(a) with statutes that stated that “[n]o action against the United States

. . . shall be brought under Section 1331 or 1346 of title 28” or that limited judicial review of “all

questions of law and fact, including interpretation and application of constitutional and statutory

provisions”). Because there is no clear intent by Congress in Section 1818(i)(a) to strip federal

courts of jurisdiction to review collateral constitutional claims, there is no express preclusion of

review of CBW’s constitutional claim it has a Seventh Amendment jury right.




                                                 15
   Case 2:24-cv-02535-DDC-BGS   Document 2      Filed 11/19/24     Page 17 of 17




Dated: November 19, 2024    Respectfully submitted,

                            BERKOWITZ OLIVER LLP

                            /s/ Anthony J. Durone
                            Anthony J. Durone (KS Bar # 17492)
                            Carson M. Hinderks (KS Bar # 25079)
                            2600 Grand Boulevard, Suite 1200
                            Kansas City, MO 64108
                            Telephone: 816.561.7007
                            Fax: 816.561.1888
                            adurone@berkowitzoliver.com
                            chinderks@berkowitzoliver.com

                            MORGAN LEWIS & BOCKIUS LLP

                            Allen H. Denson (pro hac vice forthcoming)
                            D.C. Bar No.: 999210
                            1111 Pennsylvania Avenue, N.W.
                            Washington, DC 20004-2541
                            allen.denson@morganlewis.com
                            Tel: (202) 739-3000
                            Fax: (202) 739-3001

                            Daniel B. Tehrani (pro hac vice forthcoming)
                            N.Y. Bar No.: 4422945
                            101 Park Ave
                            New York, NY 10178-0060
                            daniel.tehrani@morganlewis.com
                            Tel: (212) 309-6150
                            Fax: (212) 309-6001

                            Catherine L. Eschbach (pro hac vice forthcoming)
                            TX Bar No.: 24097665
                            1000 Louisiana Street, Suite 4000
                            Houston, TX 77002-5006
                            catherine.eschbach@morganlewis.com
                            Tel: (713) 890-5719
                            Fax: (713) 890-5001

                            Attorneys for CBW Bank




                                     16
